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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 13-61586-CIV-MOORE/MCALILEY


  MARIA ROZO, LUDMILLA MANASSE,
  and others similarly situated

            Plaintiff,

  v.

  PERFECT MULTI, LLC, a Florida Limited
  Liability Company and CHELTON CHARLES, Individually,

            Defendants.
                                                  /

   MOTION TO COMPEL DISCOVERY IN AID OF THE JUDGMENT OR EXECUTION
                         AND FOR SANCTIONS

            Plaintiffs, MARIA ROZO and LUDMILLA MANASSE, (collectively, "Plaintiffs"),

  by and through their undersigned counsel and pursuant to Rule 37 of the Federal Rules of Civil

  Procedure, hereby move the Court to compel discovery in aid of the judgment or execution, as to

  PERFECT MULTI, LLC, a Florida Limited Liability Company and CHELTON CHARLES,

  Individually, and for an award of sanctions, and in support state:

            1. On May 29, 2015, this Court entered a Default Final Judgment (the "Final

  Judgment") in this action in favor of Plaintiffs and against Defendants. As of the date of this

  Motion, the Final Judgment has not been satisfied, and post-judgment discovery has not been

  stayed.

            2. Plaintiffs noticed Defendants deposition duces tecum in aid of the judgment or

  execution. The Notice of Taking Deposition Duces Tecum, which is attached hereto as Exhibit

  "1" (the "Notice"), scheduled the deposition of Chelton Charles, individually and as President of


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  Perfect Multi, LLC, for Monday, July 25, 2016, at 1:00 p.m. The Notice was served on each

  Chelton Charles, Individually and as President of Perfect Multi, LLC on June 13, 2016,

  according to the USPS Tracking Information attached hereto as Composite Exhibit "2."

         3. Chelton Charles, Individually and as President of Perfect Multi, LLC did not appear

  for the deposition that was scheduled by the Notice. The Certificate of Non-Appearance is

  attached hereto as Exhibit "3."

         4. Plaintiffs are hereby moving the Court to order Chelton Charles, Individually and as

  President of Perfect Multi, LLC, to appear for a deposition within four weeks from the date on

  which such an Order is entered. Furthermore, Plaintiffs are requesting that this Court award

  Plaintiffs sanctions against Chelton Charles, Individually and as President of Perfect Multi, LLC,

  in the amount of reasonable attorney's fees and court costs incurred by Plaintiffs in preparing this

  Motion, securing a court reporter's attendance at the deposition, and obtaining a copy of the

  Certificate of Non-Appearance. The undersigned counsel has spent no less than 3.0 hours

  preparing this Motion, and his current, standard, hourly rate is $350.00 per hour. Moreover,

  Plaintiffs were charged $115.00 for a court reporter's attendance at the deposition and for the

  Certificate of Non-Appearance. See Invoice No. 1338366 from U.S. Legal Support, Inc. attached

  hereto as Exhibit "4."

         5. Pursuant to Rule 37(a)(1), the undersigned counsel hereby certifies that he has in

  good faith conferred or attempted to confer with Chelton Charles, Individually and as President

  of Perfect Multi, LLC, in an effort to obtain the above-referenced discovery without court action.

         WHEREFORE, Plaintiffs Maria Rozo and Ludmilla Manasse, respectfully request that

  this Honorable Court:




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          A. Order Chelton Charles, Individually and as President of Perfect Multi, LLC, to appear

  for a deposition at the undersigned counsel's office on a date and time to be selected by Plaintiffs

  that is not more than four weeks from the date on which this Court rules on this Motion;

          B. Award Plaintiffs sanctions against Chelton Charles, Individually and as President of

  Perfect Multi, LLC in the amount of reasonable attorney's fees and court costs incurred by

  Plaintiffs in preparing this Motion, securing a court reporter's attendance at the deposition, and

  obtaining a copy of the Certificate of Non-Appearance; and

          C. Award such other and further relief as this Court may deem just and proper.

                                        MEMORANDUM OF LAW

          Rule 69(a)(2) of the Federal Rules of Civil Procedure provides that, "[i]n aid of the

  judgment or execution, the judgment creditor . . . may obtain discovery from any person

  including the judgment debtor as provided in these rules or by the procedure of the state where

  the court is located." Fed. R. Civ. P. 69(a)(2) (2010). Rule 30 provides that "a party may, by

  oral questions, depose any person, including a party without leave of court, except as provided in

  Rule 30(a)(2)."1 Fed. R. Civ. P. 30(a)(1) (2010). 1

          If the deponent fails to answer question asked under Rule 30, a party seeking discovery

  may move the court for an order compelling an answer. See Fed. R. Civ. P. 37(a)(3)(B)(i)

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  1 Rule 30(a)(2) provides as follows:
  (2) With Leave. A party must obtain leave of court, and the court must grant leave to the extent
  consistent with Rule 26(b)(2):
  (A) if the parties have not stipulated to the deposition and:
  (i) the deposition would result in more than 10 depositions being taken under this rule or Rule
  31 by the plaintiffs, or by the defendants, or by the third-party defendants;
  (ii) the deponent has already been deposed in the case; or
  (iii) the party seeks to take the deposition before the time specified in Rule 26(d), unless the party
  certifies in the notice, with supporting facts, that the deponent is expected to leave the United States
  and be unavailable for examination in this country after that time; or
  (B) if the deponent is confined in prison.
  None of the circumstances contemplated by Rule 30(a)(2) apply to the instant situation.

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  (2010). Moreover, if the party or party's officer, director, or managing agent fails to obey an

  order to provide or permit discovery, "the [district] court where the action is pending may issue

  further just orders," which may include "treating as contempt of court the failure to obey any

  order except an order to submit to a physical or mental examination," Fed. R. Civ. P.

  37(b)(2)(vii) (2010), as well as "order the disobedient party . . . to pay the reasonable expenses,

  including attorney's fees, caused by the failure, unless the failure was substantially justified or

  other circumstances make an award of expenses unjust." Fed. R. Civ. P. 37(b)(2)(C) (2010).

         In aid of the Final Judgment or execution, Plaintiffs have properly sought to obtain

  discovery from both Defendant Chelton Charles, Individually and as President of Perfect Multi,

  LLC, parties to this action, as provided by the Rules and by the procedures of the State of

  Florida. Because Chelton Charles, Individually and as President of Perfect Multi, LLC failed to

  appear for a duly noticed deposition duces tecum, Plaintiffs are properly moving this Court for an

  Order compelling his appearance at the deposition, as well as for an award of sanctions for his

  initial non-appearance.

  DATED: August 2, 2016.
                                                 LAW OFFICES OF CHARLES EISS, P.L.
                                                 Attorneys for Plaintiff
                                                 7951 SW 6th Street, Suite 308
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                                                 (954) 914-7890 (Telephone)
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                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on the 2nd day of August, 2016, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served on this day via U.S. Mail delivery to: Mr. Chelton Charles,

  individually and as President of PERFECT MULTI, LLC., 3870 Riverside Drive, Number 3,

  Coral Springs, FL 33063.

                                              /s/ Charles M. Eiss
                                              CHARLES M. EISS, Esq.




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                                        SERVICE LIST

                                 United States District Court
                                 Southern District of Florida

     Maria Rozo, Ludmilla Manasse, and others similarly situated vs. Perfect Multi, LLC, and
                               Chelton Charles, Individually
                       CASE NO.: 13-61586-CIV-MOORE/MCALILEY


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  Mr. Chelton Charles,
  individually and as President of PERFECT MULTI, LLC.
  3870 Riverside Drive, 3
  Coral Springs, FL 33063

  Via US Mail




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